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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 MATTHEW PITTARD and
 MATTHEW ALLENDE,

                       Plaintiffs,
                                               CASE NO: 8:19-cv-01784-TPB-AAS
           V.


 H.E. SHEIKH KHALID BIN HAMAD
 BIN KHALIFA AL TRANI, et al.

                       Defendants.

                                           I

                        Declaration of Donald Greenbaum in
                       Support of Al Anabi's Motion to Dismiss

      I, Donald Greenbaum, declare pursuant to 28 U.S.C. § 1746 and under

penalty of perjury, as follows:

      1.        I make this declaration in support of the motion by Al Anabi Racing

USA, LLC ("Al Anabi") to dismiss the complaint pursuant to Federal Rule of Civil

Procedure 12(b)(2) for lack of personal jurisdiction. Unless otherwise stated, I have

direct, personal knowledge of the matters stated in this declaration.

      Background

      2.        I am the Manager / Chief Executive Officer ("CEO") of Al Anabi and

have held that position since January 2013.

      3.        As manager and CEO, I have access to Al Anabi's records.
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       4.    As the CEO, I am familiar with Al Anabi's business activities.

       Overview ofAl Anabi

       5.    Al Anabi is not incorporated in Florida.

       6.    Al Anabi's principal place of business is not in Florida.

       7.    Al Anabi sponsors racing teams, none of which are based in Florida.

Al Anabi does not own the teams it sponsors.

       8.    Al Anabi has never employed, compensated, or contracted with Mr.

Pittard.

       9.    Al Anabi has never employed, compensated, or contracted with Mr.

Allende.

       10.   Neither Plaintiff has provided services for Al Anabi.

       Facts Regarding Al Anabi's Contacts with Florida

       11.   Al Anabi has not registered any affiliates, related business entities,

beneficiaries, subsidiaries, successors, successors-in-interest, agents, or assigns, in

Florida.

       12.   Al Anabi has not designated an agent in Florida for service of process.

       13.   Al Anabi does not own, lease or control real property in Florida.

       14.   Al Anabi has no office or operations or facilities in Florida.

       15.   Al Anabi has no licenses or certifications in Florida.

       16.   Al Anabi has had no litigation in Florida prior to this case.
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      17.    Al Anabi has had no phone or fax listings with a Florida number.

      18.    Al Anabi has never had officers or directors located in Florida.

      19.    Al Anabi has no bank accounts in Florida, nor has it originated or

closed loans from Florida.

      20.    To the best ofmy knowledge and after a review ofrecords, Al Anabi

does not pay taxes in Florida and does not owe taxes in Florida.

      21.    Al Anabi' s corporate decision-making and strategy does not take

place in Florida.

      22.    To the best ofmy knowledge Al Anabi has no contracts with Florida­

based entities or persons.

      23.    The teams Al Anabi sponsors participate in approximately sixteen

races per year, only one ofwhich takes place in Florida.

      24.    Al Anabi does not register or maintain any ofits property in Florida.

      25.    Al Anabi has no employees in Florida.

      Summons Addressed to H.E. Sheikh Khalid bin Hamad bin Khalifa Al
      Thani ("Sheikh Khalid'') Served on Al Anabi

      26.    On December 19, 2019, Al Anabi received a copy ofthe Summons

and Complaint in this matter that was addressed to Sheikh Khalid.

      27.    The Summons was sent to Al Anabi by CT Corporation, which is the

registered agent for Al Anabi.

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